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                                                                Jun 27 2025




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA



HIRAN RODRIGUEZ,                                CIVIL ACTION NO. 2:25-cv-00197

PLAINTIFF                                       SECTION A
                                                JUDGE JAY C. ZAINEY
V.
                                                DIVISION 2
META PLATFORMS, INC., ET AL.                    MAGISTRATE JUDGE

DEFENDANTS                                      DONNA P. CURRAULT



                                                JURY TRIAL DEMANDED



     NOTICE AND MOTION FOR JUDICIAL RECOGNITION AND
                    PROTECTIVE CLARIFICATION
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NOW INTO COURT, comes Plaintiff-Appellant, Hiran Rodriguez, appearing

pro se, and respectfully submits this revised Notice and Motion for Judicial

Recognition and Protective Clarification regarding recent involuntary psychiatric

detention and the associated risk of factual mischaracterization during pending

federal litigation.



On June 1, 2025, Plaintiff was subjected to a retaliatory train horn blast outside

his home, believed to be connected to prior complaints of harassment,

surveillance, and obstruction involving the Jefferson Parish Sheriff's Office and

other actors named in this civil RICO and constitutional tort action.



On June 5, 2025, at approximately 6:23 PM CDT, Plaintiff called 911 to speak

with Deputy Wheelehan of JPSO regarding the June 1 assault (Incident No.

D10513-25, Ref. 2271400). The dispatcher informed Plaintiff that the deputy was

not available until the next day, so no report was taken. Later that evening, due

toescalating physical and psychological pain, Plaintiff presented to Ochsner

Medical Center located at 1514 Jefferson Hwy, New Orleans, LA 70121.



On June 6, 2025, Plaintiff was evaluated by Nurse Practitioner Rachel Zeevi and

placed on a stretcher for ambulance transport to River Place Behavioral Health in


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LaPlace, LA. He was involuntarily admitted pursuant to a Physician’s

Emergency Certificate under Louisiana R.S. 28:53. The certificate documented

symptoms including paranoid thoughts, anxiety, chest palpitations, and a belief

that he was being harassed with targeted train noise. These beliefs were

inaccurately construed as psychiatric delusions,...



- Rodriguez v. Meta Platforms, No. 25-30297 (5th Cir.) – appeal of EDLA Case

No. 2:25-cv-00197-JCZ-DPC; - In re: Hiran Rodriguez, No. 25-30279 (5th Cir.)

– Petition for Writ of Mandamus; - Rodriguez v. Meta Platforms, Inc., et al., No.

2:25-cv-00197-JCZ-DPC (E.D. La.) – civil rights and racketeering action.



Plaintiff remained hospitalized from June 6 to June 16, 2025, under involuntary

confinement. Discharge instructions and medical records from River Place

Behavioral Health confirm the length of confinement and basis of diagnosis.

Plaintiff was subsequently scheduled for outpatient follow-up. On June 24, 2025,

Plaintiff appeared for an evaluation at Jefferson Parish Human Services

Authorities (Jeffcare), located at 3616 South I-10 Service Road, Suite 100.Plaintiff met

with Dr. Denny at 7:45 AM and was given a follow-up appointment

for one month later to receive an additional injection and continued monitoring....




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These events show a clear pattern of civil interference: Plaintiff attempted to

report a retaliatory event, was denied law enforcement response, and was instead

hospitalized under circumstances that risk undermining the credibility of ongoing

legal claims.



WHEREFORE, Plaintiff respectfully moves this Court to take judicial notice of

the following:



1. Plaintiff is an active pro se litigant in federal appellate and district court

proceedings; 2. Statements about surveillance, targeted harassment, and digital

intrusion relate to documented evidence submitted under seal and do not

constitute psychiatric delusion; 3. The 911 call, denied police follow-up, medical

escalation, and hospitalization reflect a civil liberties conflict requiring judicial

awareness and procedural protection.



Plaintiff prays this Court acknowledge these facts for the record, preserve the

evidentiary integrity of all filings, and recognize the legal impact of future

psychiatric holds used in proximity to law enforcement misconduct or digital

surveillance complaints.




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Respectfully submitted,



s/ Hiran Rodriguez

Hiran Rodriguez, Pro Se

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Dated June 27, 2025




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                            JURISDICTIONAL CONTEXT


This filing is submitted in connection with Rodriguez v. Meta Platforms, Inc., et

al., Civil Action No. 2:25-cv-00197-JCZ-DPC (E.D. La.), which remains subject

to active appellate review in:

- Rodriguez v. Meta Platforms, Inc., et al., No. 25-30297 (5th Cir.) - In re: Hiran

Rodriguez, No. 25-30279 (5th Cir.)

Plaintiff files this notice to protect the procedural and evidentiary integrity of the

district court record in light of overlapping jurisdictional claims under 28 U.S.C.

§§ 1291, 1651, and Rule 10(e) of the Federal Rules of Appellate Procedure. The

relief sought herein is intended to support appellate matters currently pending,

preserve facts for review, and correct any omissions, misconduct, or irregularities

related to the record below.

Plaintiff affirms that the filing is consistent with the supervisory authority of the

United States Court of Appeals for the Fifth Circuit and the constitutional

guarantees of due process and meaningful review.




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                    JUDICIAL DISQUALIFICATION NOTICE


Plaintiff Hiran Rodriguez renews his request for immediate judicial

disqualification and reassignment under 28 U.S.C. §§ 144 and 455. As detailed in

Rec. Doc. 231, Plaintiff filed a Motion to Recuse on March 16, 2025 (Rec. Doc.

91), asserting personal knowledge and specific factual allegations of bias,

obstruction, and improper conduct by District Judge Jay C. Zainey.

The Court failed to assign the motion to another judge as required by law.

Instead, Judge Zainey improperly ruled on his own disqualification, violating the

mandatory recusal process under § 144. All orders issued thereafter—including

Rec. Docs. 100, 186, 187, 188, 223, and 224—are therefore void ab initio under

controlling precedent.

The record further reflects that a signed Motion to Disqualify, supporting

affidavit, and Notice of Judicial Misconduct were hand-delivered to the Clerk’s

Office on May 1, 2025, yet wrongfully delayed and stamped as received on May

5. These irregularities, combined with the failure to reassign the matter,

undermine the legitimacy of all subsequent judicial acts.Plaintiff expressly reserves all

rights under the Constitution and reaffirms that he

does not consent to the jurisdiction of any tribunal acting in violation of 28

U.S.C. §§ 144 or 455. The Court must transfer the case to an impartial judge to



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restore lawful adjudication and due process.




                            RESERVATION OF RIGHTS



Plaintiff expressly reserves all rights under the United States Constitution, federal

statutes, and procedural rules, including but not limited to the right to

supplement, amend, or withdraw this filing, assert claims under Bivens and

RICO, and pursue all appropriate remedies in the event of continued retaliation,

procedural misconduct, or judicial irregularity.

This filing is made without waiver of any constitutional, statutory, or equitable

argument previously raised or that may be raised in future proceedings. Plaintiff

further reserves the right to seek sanctions, relief under Rule 60(b), reassignment

of the case, or protective orders where necessary to preserve the fairness and

integrity of judicial proceedings.




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                                CERTIFICATE OF SERVICE



Filed: June 27, 2025


I hereby certify that on June 27, 2025, a true and correct copy of the foregoing


NOTICE AND MOTION FOR JUDICIAL RECOGNITION AND PROTECTIVE CLARIFICATION

was:


   •   Filed electronically through the United States District Court for the Eastern District of

       Louisiana’s EDSS (Electronic Document Submission System);

   •   Served via United States Mail upon the Clerk of Court for the United States District Court for

       the Eastern District of Louisiana, 500 Poydras Street, New Orleans, LA 70130;

   •   Served via electronic mail upon the following counsel of record, grouped below by firm:




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Respectfully submitted,


Hiran Rodriguez


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Pro Se Appellant


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Declaration


I declare under penalty of perjury under the laws of the United States of America that the foregoing is

true and correct.




s/ Hiran Rodriguez


Executed on June 27, 2025.




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      [PROPOSED] ORDER ON NOTICE AND MOTION FOR JUDICIAL

             RECOGNITION AND PROTECTIVE CLARIFICATION


Before the Court is Plaintiff’s Notice and Motion for Judicial Recognition and Protective

Clarification [Rec. Doc. ___], filed pro se on June 27, 2025, seeking judicial

acknowledgment of facts surrounding an involuntary psychiatric commitment and its

potential implications on pending federal litigation.


IT IS ORDERED that the Court takes judicial notice of the following, as asserted by

Plaintiff:


1. That Plaintiff Hiran Rodriguez is currently an active pro se litigant in multiple

proceedings before this Court and the United States Court of Appeals for the Fifth

Circuit;


2. That statements concerning surveillance, harassment, or digital intrusion in this case

are connected to evidentiary materials on file and *do not inherently constitute

delusional beliefs*;


3. That the involuntary psychiatric commitment initiated after a 911 call on June 5, 2025,

arose within the context of a broader pattern of alleged retaliation and that its proximity

to these proceedings warrants appropriate judicial caution and procedural safeguards.




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IT IS FURTHER ORDERED that this Motion shall be filed into the record and construed

as part of the evidentiary context of this matter, without prejudice to any further relief

Plaintiff may seek, and without determination as to the merits of any pending claim or

defense.


             New Orleans, Louisiana, this ___ day of __________, 2025.


                         _______________________________


                        UNITED STATES DISTRICT JUDGE




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